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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 UNITED STATES OF AMERICA,

        Plaintiff,

                v.

 AMERISOURCEBERGEN CORPORATION;                      Case No. 2:22-cv-05209-GJP
 AMERISOURCEBERGEN DRUG
 CORPORATION; and INTEGRATED
 COMMERCIALIZATION SOLUTIONS, LLC,

        Defendants.


                                    [PROPOSED] ORDER

       AND NOW, this ___ day of ________, upon consideration of Defendants’ Motion to

Dismiss and any opposition thereto, it is hereby ORDERED that the Motion is GRANTED.

Plaintiff’s Complaint is dismissed with prejudice.



                                                                        __________________
                                                                                         J.
